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MALlA E. SCHRECK

SUBM|TTED VlA CM/ECF

The Honorable Kenneth J. l\/lansfield
United States District Court

District of Hawaii

300 Ala l\/|oana Blvd., C-338
Hono|u|u, Hl 96850

Dear Judge l\/lansfield:

Re: Ohana Military Communities, LLC, et al. v. Cara Barber
Civil No. 18-00042-KJl\/|

Dear Judge l\/lansfie|d:

This letter will address a discovery dispute that has arisen between Defendant
Cara Barber (“Barber”) and Plaintiffs Ohana l\/lilitary Communities, LLC (“Ol\/lC”) and
Forest City Residential l\/lanagement, LLC (“FCRl\/l”). Pursuant to the agreement of the
parties, simultaneous letter briefs are being submitted to the court in accordance with
Local Rule 37.1.

The dispute concerns Barber’s responses to Plaintiffs’ Requests for Production
Nos. 1, 3, 5, 7, 9, 10, 12, 13, 18, 20, 21, 22, 25, 26, 27, 28 and 29.1Withoutexception,
all of these requests are objectionable on the grounds that they are overbroad, unduly
burdensome and not reasonably calculated to lead to the discovery of admissible
evidence. To place the current dispute in the proper context, it is relevant to briefly
review the facts underlying the Plaintiffs’ claims against Barber.

Al| of the Plaintiffs' claims in this case arise from a prior civil lawsuit (Cara Barber,
et al. v. Ohana Military Communities, LLC, et a/., Civ. No. 14-00217 HG-RLP) in which
Barber and three other current and former residents of l\/larine Corps Base Hawaii
("l\/lCBH") housing presented claims against Ol\/lC and FCRM related to widespread
pesticide contamination at l\/lCBH. The prior civil action was settled in February 2016.
The terms of the settlement agreement included a mutual release of “a|l claims, known

 

1 A copy of Barber’s response to Plaintiffs’ First Request for Production of Documents is transmitted with
this letter for the court’s reference. The parties have agreed that this document may be appended to their
respective letter briefs without counting towards the five-page limit under Rule 37.1

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or unknown, from the beginning of time until the date of thisagreement, . . . relating to
any and all allegations, claims, causes of action, and claims for relief contained, alleged
or which could have been contained or alleged in the Second Amended Comp|aint or in
the Litigation.”

Following settlement of the prior civil action, Ol\/lC and FCRl\/l filed a motion for
preliminary injunction against Barber based on the erroneous contention that Barber
had violated the terms of the settlement agreement by engaging in an alleged
"solicitation campaign" with her former attorneys and posting information on social
media that Ol\/|C and FCRl\/l contend is false and defamatory. This civil action presents
the exact same claims against Barber that Ol\/lC and FCRl\/l are pursuing in their motion
for preliminary injunction, which is still pending before Judge Gillmor. Without exception,
all the Plaintiffs’ claims in this case pertain to alleged statements made by Barber M
the February 2016 settlement of the prior civil action. Any statements made by Barber,
or any communications that Barber may have had with third parties before settlementh
the prior case, cannot form the basis for any claim by the Plaintiffs in the current civil
action because any such claims have been fully released by the Plaintiffs.

 

lt is also important to note that, in response to Plaintiffs’ filing of their motion for
preliminary injunction, the specific statements on social media by Barber that are
referenced in that motion_and which are also specifically referenced in the Comp|aint
filed in this case_have been removed by Barber. (The Plaintiffs acknowledged removal
of these statements in a recently filed Supplemental Brief re Defendants’ l\/lotion for
Preliminary lnjunction, filed January 8, 2019 in Civil No. 14-00217 HG-RLP, Doc. 457.)
Accordingly, the relevant time frame for discoverable “communications” and other
documents is between the settlement and dismissal of the prior civil action, February
29, 2016, and the filing of the Plaintiffs’ motion for preliminary injunction, June 15, 2016,
l\/lost the Plaintiffs’ document requests that are currently at issue are not limited in any
way with respect to time frame and for that reason alone are objectionable.

ln connection with good faith efforts to resolve the current dispute, Plaintiffs have
taken the position that Barber’s communications after the filing of the preliminary
injunction motion are relevant to determining whether the Navy’s release of a
confidential settlement memorandum violated the confidentiality provision in the
settlement agreement That argument, however, has essentially been nullified by this
court’s recent ruling that the settlement agreement is now, or soon will be, a matter of
public record.

Several of the Plaintiffs’ document requests are objectionable for additional
reasons. For example, Request No. 20 seeks all communications between Barber and
her attorneys, “Kyle Smith, Terrance Revere, or any other individuals at their respective
law firms(.)" Any such communications between Barber and her attorneys are protected
from discovery by the attorney-client privilege. lt is anticipated that Plaintiffs will contend

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that such communications between Barber and her attorneys are discoverable pursuant
to an order issued by Judge Gillmor. That argument carries no weight in the current
dispute, however, for at least two reasons.

First, Barber respectfully disagrees with Judge Gillmor’s ruling that these
privileged communications are subject to discovery, or that Judge Gillmor’s ruling on
that issue is binding on this court. Second, Barber has, over objection, fully complied
with Judge Gillmor’s order to produce certain communications with her attorneys, and
those documents were already produced to Plaintiffs in connection with discovery
related to the preliminary injunction motion. There is, therefore, no basis forthis court to
order the production of any attorney-client communications in resolving the current
dispute.

Similarly, any communications between Barber and Dr. Walter Chun, one of the
experts retained on her behalf, are protected from discovery by the work product
privilege applicable to trial preparation materials of experts, set forth in Rule 26(b)(4) of
the Federal Rules of Civil Procedure.

For all the reasons noted above, the document requests at issue are an
unwarranted fishing expedition that goes well beyond the scope of allowable discovery
under Rule 26(b) and should not be allowed.

Rule 26(b) will not permit unlimited discovery. Rule 26(b)(1)
permits discovery of only “[r]elevant information” and the
discovery must “appear reasonably calculated to lead to the
discovery of admissible evidence.” l\/loreover, all discovery is
limited by Rule 26(b)(2), which protects against, inter alia,
overly burdensome discovery requests, discovery of
cumulative materials, and overly costly discovery
requests.... Rule 26(b), although broad, has never been a
license to engage in an unwieldy, burdensome, and
speculative fishing expedition.

619 F.3d at 1163. ln Ameristar Jet Charter, /nc. v. Signa/
Composites, lnc., 244 F.3d 189, 193 (1st Cir.2001), the First Circuit
denied additional discovery and would “not allow [respondent] to go
on a ‘fishing expedition’ with the mere ‘hope’ that it will obtain
[relevant] information.” ln MlNPECO, S.A. v. Conticommodity
Services, lnc., 844 F.2d 856, 863 (D.C.Cir.1988), the D.C. Circuit
affirmed orders quashing subpoenas so as not to “authorize

a fishing expedition into congressional files.” And in a case between
the United States and KBR, regarding an alleged violation of the
LOGCAP lll contract, the Court of Federal Claims warned against

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the “use of discovery as a fishing expedition.” Kellogg Brown &
Root Servs., lnc. v. U.S., 99 Fed.Cl. 488, 495 (2011) (quoting ln re
BP Lubricants USA lnc., 637 F.3d 1307, 1310 (Fed.Cir.2011)).

|n sum, although Courts should read “relevance” broad|y, they
should not endorse “‘fishing expeditions,’ discovery abuse and
inordinate expense involved in overbroad and far-ranging discovery
requests.” Hardrick v. Lega/ Servs. Corp., 96 F.R.D. 617, 618
(D.D.C.1983). lnstead, Courts should tailor discovery “to the issues
involved in the particular case." ld.

United States v. Kelloqq Brown & Root Services, lnc., 284 F.R.D. 22, 36-37 (D.D.C.
2012) (Quoting l\/lurphv v. Deloitte & Touche Group lns. Plan, 619 F.3d 1151 (10th
Cir.2010).

ln this case, the Plaintiffs’ claims pertain solely to specific social media postings
which they contend have resulted in damage to them. Under these facts, the scope of
relevant discovery is strictly limited to the time frame between settlement of the prior
case and the Plaintiffs’ filing of their motion for preliminary injunction. Barber remains
willing to review her available, non-privileged communications within the relevant time
frame, to determine whether there are any additional records that may be responsive to
the Plaintiffs’ request that have not been previously produced or made available to
Plaintiffs. There is no basis, however, for this court to issue an order compelling any
broader production of records by Barber.

Very truly yours,
/s/ Bradford F. K. Bliss
Bradford F. K. Bliss

cc: Randall C. Whattoff (via Cl\/l/ECF)
Joachim P. Cox (via C|\/l/ECF)
Kamala S. Haaka (via Cl\/l/ECF)
Kyle Smith (via Cl\/l/ECF)
Terrance Revere (via Cl\/l/ECF)

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Attorneys for Defendant
CARA BARBER

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

PagelD #: 1244

oHANA MILITARY ) ClvlLNo.18-00042 KJM
CoMMUNITIES, LLC and )
FoREST CITY RESIDENTIAL ) DEFENDANT CARA BARBER'S
MANAGEMENT, LLC, ) RESPoNSE To PLAINTIFF
) oHANA MILITARY
Plaintiffs, ) CoMMUNITIES, LLC'S FIRST

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) REQUEST FOR PRODUCTION OF
Vs. ) DOCUMENTS AND THINGS TO

) DEFENDANT CARA BARBER,

CARA BARBER, ) DATED NOVEMBER 9, 2018

)

Defendant )

) Trial Date: June 12, 2019

 

DEFENDANT CARA BARBER'S RESPONSE TO PLAINTIFF
OHANA MILITARY COMMUNITIES, LLC'S FIRST REQUEST
FOR PRODUCTION OF DOCUMENTS AND THINGS TO
DEFENDANT CARA BARBER, DATED NOVEMBER 9, 2018

 

COMES NGW Defendant CARA BARBER ("Barber"), by and
through her attorneys, Lyons, Brandt, Cook & Hiramatsu, and hereby responds to
Plaintiff Ohana Military Communities, LLC's First Request for Production of 8
Documents and Things, dated November 9, 2018 ("the Request"), as is set forth

below:

DATED: Honolulu, Hawaii, [>¢¢,M,¢ §§ go /3 .

 

Attorney or Defendant
CARA BARBER

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PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

 

As a general response to all categories of documents stated in the

Request, Defendant Barber responds and objects as follows:

l.

Each response herein is made subject to all objections as to competence,
relevance, materiality, propriety and admissibility, as Well as any and all
other objections and grounds Which Would require the exclusion of
evidence; Defendant reserves the right to make any and all such
objections at trial and in any other proceeding relating to this action,

No incidental or implied admissions are intended by Defendant's
responses. The fact that Defendant has responded to a request should not
be construed as an admission that Defendant accepts or admits the
existence of any facts or documents set forth or assumed by such request,
or that the making of a response constitutes admissible evidence
Defendant's responses shall not Waive the attorney-client privilege, Work
product doctrine, confidentiality or any other applicable privilege

Plaintiffs’ discovery may cover communications between and documents
exchanged by Defendant and her legal counsel, as Well as other material
covered by the attorney-client privilege To the extent the identity of such
documents and the substance of such communications are sought
generally by Plaintiffs, Defendant objects thereto on the ground that such
information is protected by the attorney-client privilege

Plaintiffs’ discovery may cover the subject matter of documents reflecting
the impressions, conclusions, opinions or legal research or theories of
Defendant's legal counsel and consultants employed to prepare for
litigation To the extent that Plaintiffs seek such information or the
identity or substance of such documents generally, Defendant objects
thereto on the ground that such information is protected by the work
product doctrine, attorney-client, or other privilege

Defendant objects to Plaintiffs’ discovery to the extent that it seeks
information for an unlimited time period. Such discovery is overbroad,
unduly burdensome and seeks information that is neither relevant nor
reasonably calculated to lead to the discovery of admissible evidence

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6. Defendant's review of her files and records, as well as her research,
investigation, discovery, and analysis is continuing, as is discovery. These
responses are based on information presently known and available
Defendant reserves the right to make changes in her responses or to
present new and additional information at trial, to correct errors or
omissions, to reflect more accurate information or to include
subsequently discovered facts concerning matters covered by this
discovery.

Subject to and without waiving the above obj ections, Defendant provides the
following responses:

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SPECIFIC OBJECTIONS AND RESPONSES

 

l. All COMMUNICATIONS between YOU, on the one hand, and any
PERSON, on the other, related to soil conditions at MCBH.

Resp onse:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the premature disclosure of attorney-client work product, expert
work product, and attorney-client privilege Defendant further objects to the
request on grounds that it is vague, ambiguous, and overly broad with
respect to scope

Without waiving said objections, Defendant Barber will produce non-
privileged documents in her possession related to soil conditions at MCBH.

2. All DOCUMENTS related to soil conditions at MCBH.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the premature disclosure of attorney-client work product, expert
work product, and attorney-client privilege Defendant further objects to the
request on grounds that it is vague, ambiguous, and overly broad with
respect to scope and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession related to soil conditions at MCBH.

3. All COMMUNICATIONS between YOU, on the one hand, and any
PERSON, on the other, related to pesticides at MCBH.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the premature disclosure of attorney-client work product, expert
work product, and attorney-client privilege Defendant further objects to the
request on grounds that it is vague, ambiguous, and overly broad with
respect to scope and unduly burdensome

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Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession related to pesticides at MCBH.

4. All DOCUMENTS related to construction dust at MCBH.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the premature disclosure of attorney-client work product, expert
work product, and attorney-client privilege Defendant further objects to the
request on grounds that it is vague, ambiguous, and overly broad with
respect to scope and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession related to construction dust at
MCBH.

5. All COMMUNICATIONS between YOU, on the one hand, and any
PERSON, on the other, related to construction dust at MCBH.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the premature disclosure of attorney-client work product, expert
work product, and attorney-client privilege Defendant further objects to the
request on grounds that it is vague, ambiguous, and overly broad with
respect to scope and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession related to construction dust at
MCBH.

6. All DOCUMENTS related to soil conditions at MCBH.
Response:

See objections and response to document request no. 2.

7. All COMMUNICATIONS between YOU, on the one hand, and any
PERSON, on the other, related to any pesticide, chemical, or compound that
YOU contend is or has been present at MCBH, including but not limited to
chlordane, heptachlor, heptachlor epoxide, aldrin, dieldrin, endrin and DDT.

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10.

Response:

See objections and response to document request no. 3.

All DOCUMENTS related to any pesticide, chemical, or compound that
YOU contend is or has been present at MCBH, including but not limited to
chlordane, heptachlor, heptachlor epoxide, aldrin, dieldrin, endrin and DDT.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the premature disclosure of attorney-client work product, expert
work product, and attorney-client privilege Defendant further objects to the
request on grounds that it is vague, ambiguous, and overly broad with
respect to scope and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession related to pesticides at MCBH.

All COMMUNICATIONS between YOU, on the one hand, and any
PERSON, on the other, related to or mentioning this lawsuit.

Resp_onse:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents, if any, in her possession related to or mentioning this
lawsuit.

For the time period from February l, 2016 to the present, all
COMMUNICATIONS between YOU, on the one hand, and any PERSON,
on the other, related to or mentioning YOUR WEB AND SOCIAL MEDIA
SITES.

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ll.

l2.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant nlrther objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents, if any, in her possession related to or mentioning her
social media sites.

A list of all users, members, subscribers, "friends," or similar PERSONS for
each of YOUR WEB AND SOCIAL MEDIA SITES.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said objections, Defendant Barber has no such lists.

For the time period from February 1, 2016 to the present, all
COMMUNICATIONS between YOU, on the one hand, and any PERSON,
on the other, mentioning or related to Cara Barber, et al. v. Ohana Military
Communities, LLC, et al.; Civil No. 14-00217.

Resp_onse:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents, if any, in her possession related to or mentioning Civil
No. 14-00217.

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13.

14.

15.

All DOCUMENTS, including but not limited to any COMMUNICATIONS,
related to any investigation, research, inspection, testing, or study of soils,
pesticides, dust, or any other aspect of the residential housing at MCBH.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents, if any, in her possession responsive to this request.

Copies of the original electronic files for all photographs, videos, diagrams,
or other DOCUMENTS that YOU MADE on any of YOUR WEB AND
SOCIAL MEDIA SITES.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents, if any, in her possession responsive to this request.

All reports, articles, treatises, or similar documents in YOUR possession,
custody, or control related to organo-chlorinated pesticides and/or related
compounds such as chlordane, heptachlor, heptachlor epoxide, aldrin,
dieldrin, endrin and DDT.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope

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and unduly burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents in her possession responsive to this request.

All reports, articles, treatises, or similar documents that support YOUR
statements about soil conditions or pesticides at MCBH that YOU made on
YOUR WEB AND SOCIAL MEDIA SITES. This includes all reports,
articles, treatises, or similar documents that support the statements
referenced in paragraphs 41-47 of the COMPLAINT.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said objections, see Defendant Barber’s answers to
interrogatories and documents referenced therein, which will be produced.

All DOCUMENTS YOU RELIED UPON when YOU made the statements
about soil conditions or pesticides on YOUR WEB AND SOCIAL MEDIA
SITES. This includes all DOCUMENTS YOU relied upon when YOU made
the statements referenced in paragraphs 41-47 of the COMPLAINT.

Resp_onse:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said objections, see Defendant Barber’s answers to
interrogatories and documents referenced therein, which will be produced

All DOCUMENTS, including but not limited to any COMMUNICATIONS,
related to, with, or mentioning Walter Chun.

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20.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

All DOCUMENTS, including but not limited to any COMMUNICATIONS,
related to, with, or mentioning the Hawaii Department of Health or any of its
employees.

Resp_onse:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

For the time period from February 1, 2016 to the present, all
COMMUNICATIONS between YOU, on the one hand, and Kyle Smith,
Terrance Revere, or any other individuals at their respective law firms, on
the other hand, related to lawsuits being filed against OHANA, FCRl\/l, or
HUNT COMPANIES.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product and communications
protected by the attorney-client privilege

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F or the time period from February l, 2016 to the present, all
COMMUNICATIONS between YOU, on the one hand, and Kyle Smith,
Terrance Revere, or any other individuals at their respective law firms, on
the other hand, related to YOUR WEB AND SOCIAL MEDIA SITES.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product and communications
protected by the attorney-client privilege

F or the time period from February 1, 2016 to the present, all
COMMUNICATIONS between YOU, on the one hand, and Kyle Smith,
Terrance Revere, or any other individuals at their respective law firms, on
the other hand, related to current or former residents of MCBH residential
housing (other than yourself or YOUR family).

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product and communications
protected by the attorney-client privilege

For the time period from January l, 2015 to the present, all DOCUMENT
REQUESTS YOU have made related to military housing.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

For the time period from January 1, 2015 to the present, all responses to
DOCUMENT REQUESTS YOU have received related to military housing.

2041 la RESPOD 01 PBB 8

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25.

26.

27.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

All COMMUNICATIONS between YOU and any news media outlet,
blogger, reporter, or journalist related to MCBH.

Response:

Objection: Defendant Barber objects to this request on the grounds that it is
vague, ambiguous, and overly broad with respect to scope and unduly
burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

All COMMUNICATIONS between YOU and any news media outlet,
blogger, reporter, or journalist related to soil issues at military housing.

Response:

Objection: Defendant Barber objects to this request on the grounds that it is
vague, ambiguous, and overly broad with respect to scope and unduly
burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

All COMMUNICATIONS between YOU, on the one hand, and any
PERSON who is leasing or has leased or resided in residential property'from
OHANA, FCRM, or HUNT COMPANIES, on the other hand, related to soil
issues at military housing.

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l Resp_onse:

Objection: Defendant Barber objects to this request on the grounds that it is
vague, ambiguous, and overly broad with respect to scope and unduly
burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

All COMMUNICATIONS between YOU, on the one hand, and any
PERSON who is leasing or has leased or resided in residential property from
OHANA, FCRM, or HUNT COMPANIES, on the other hand, related to
construction dust issues at military housing.

Response:

Objection: Defendant Barber objects to this request on the grounds that it is
vague, ambiguous, and overly broad with respect to scope and unduly
burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

All COMMUNICATIONS between YGU, on the one hand, and any
PERSON who is leasing or has leased or resided in residential property from
OHANA, FCRM, or HUNT COMPANIES, on the other hand, related to
organo-chlorinated pesticides and/or related compounds such as chlordane,
heptachlor, heptachlor epoxide, aldrin, dieldrin, endrin and DDT.

Response:

Objection: Defendant Barber objects to this request on the grounds that it is
vague, ambiguous, and overly broad with respect to scope and unduly
burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

Any and all COMMUNICATIONS between YOU and any person related to
the "FOIA request" described in paragraph 20 of the COUNTERCLAIM.

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Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

The "documents describing the terms of the original settlement" referenced
in paragraph 20 of the COUNTERCLAIM.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

All DOCUMENTS that support any count in the COUNTERCLAIM.

Resp_onse:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to counts in the
Counterclaim that have not been dismissed

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All of YOUR MEDICAL RECORDS for the time period from January 1,
2014 until the present.

Response:

Defendant Barber objects to this request on the grounds that it seeks
information that is irrelevant and not reasonably calculated to lead to the
discovery of admissible evidence

The DOCUMENTS that YOU contend were "wrongfully withheld" in
paragraph 63 of the COUNTERCLAIM.

Resp_onse:

Defendant Barber objects to this request on the grounds that it seeks
information that is irrelevant and not reasonably calculated to lead to the
discovery of admissible evidence The Count in the Counterclaim containing
paragraph 63 has been dismissed

All DOCUMENTS, including but not limited to any COMMUNICATIONS,
related to or supporting PLAINTIFFS' damages in the COUNTERCLAIM.

Response:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said obj ections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to damages
related to counts in the Counterclaim that have not been dismissed.

All DOCUMENTS that PLAINTIFFS intend to use as exhibits in this case
Response:

l do not know what documents Plaintiffs intend to use as exhibits.

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37. All DOCUMENTS reviewed or relied upon by any expert witness YOU
intend to use in this case

Resp_onse:

Objection: Defendant Barber objects to this request on the grounds that it
calls for the disclosure of attorney-client work product, expert work product,
and attorney-client privilege Defendant further objects to the request on
grounds that it is vague, ambiguous, and overly broad with respect to scope
and unduly burdensome

Without waiving said objections, Defendant Barber will produce non-
privileged documents in her possession, if any, responsive to this request.

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